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                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF TEXAS
                            HOUSTON DIVISION

THE UNITED STATES OF AMERICA §
                             §
VS                           §                        CAUSE NO: 4:17-CR-00422-19
                             §
FRANCISCO ENRIQUEZ           §

     DEFENDANT'S NOTICE TO ESTABLISH ATTORNEY AS COUNSEL


TO THE HONORABLE JUDGE OF THE UNITED STATES DISTRICT COURT FOR
THE WESTERN DISTRICT OF TEXAS, SAN ANTONIO DIVISION:

      NOW COMES, FRANCISCO ENRIQUEZ, Defendant in the above-entitled and

numbered cause, by and through the undersigned counsel, and hereby files this Notice to

Establish Attorney in the above-entitled and numbered cause, and would respectfully show

this Honorable Court as follows:

                                           I.

      ALAN BROWN has been hired by Defendant, FRANCISCO ENRIQUEZ, to

represent him as counsel in the above-entitled and numbered cause.

                                          II.

      The undersigned is licensed to practice law in the United States District Court,

Southern District of Texas.



      WHEREFORE, premises considered, Defendant respectfully requests that ALAN

BROWN be established as Counsel for Defendant, FRANCISCO ENRIQUEZ, in the

above-entitled and numbered cause.
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                                            Respectfully submitted,

                                            LAW OFFICES OF ALAN BROWN
                                            222 MAIN PLAZA
                                            SAN ANTONIO, TEXAS 78205
                                            (210) 227-5103 (O)
                                            (210) 225-2481 (F)
                                            federal@lawofficesofalanbrown.com

                                                  /S/
                                            ALAN BROWN
                                            BAR NO. 03090000


                                            ATTORNEY FOR DEFENDANT




                                CERTIFICATE OF SERVICE


       I hereby certify that on the 22nd day of February 2021, the foregoing Motion was

filed with the Clerk of Court using the CM/ECF system which will send notification of

such filing to the following:

U.S. Attorney’s Office                                          /S/
1000 Louisiana, Ste. 2300,                            ALAN BROWN
Houston, TX 77002                                       BAR NO. 03090000
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                    IN THE UNITED STATES DISTRICT COURT
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THE UNITED STATES OF AMERICA §
                             §
VS                           §                           CAUSE NO: 4:17-CR-00422-19
                             §
FRANCISCO ENRIQUEZ           §

                                          ORDER

       On this date came to be considered Defendant’s Notice to Establish Attorney as

Counsel. After consideration of same, the Court is of this opinion that said Notice is hereby:

                               GRANTED           or    DENIED

       IT IS HEREBY FURTHER ORDERED THAT: ___________________________

________________________________________________________________________

________________________________________________________________________

       SIGNED and ENTERED on this the_____ day of ___________________, 2021.



                                           ___________________________________
                                                 U.S. DISTRICT JUDGE
